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Matt Faw
702 S. Mariposa Ave. #401
Los Angeles, CA 90005

 

Dear sir or madam,

| am writing to share what | have experienced as the character of John
Dowell. | first met John around 2000, through our mutual involvement in the
Contact Improv folk dance scene, here in L.A. When he found out that | was
interested in discovering rock climbing, he took me under his wing. He had
spent years climbing and caving, and teaching others to do so, before | met
him, so he had the skills and gear to mentor me through my novice

climbs. He was patient with my fear, skilled at communicating what needed
io be done, and generous about taking the time to ease me into this scary
new sport. He introduced me to friction climbs in Joshua Tree and multiple
pitch climbs in Idyllwild. We camped and traveled together, and always had
a good time.

Rock climbing was only the beginning of our collaborative play together. We
began practicing kendo together, and soon built up a small group of peopie
interested in exploring sword play (with bamboo swords). We did parkour
together, and other urban adventuring. John was always brave and alive and
interested in exploring beyond his previous capabilities. He was an excellent
friend to have around, always willing to discover new ways of being playful in
the world.

John was also a performer, improvising dance pieces, solo or with a

friend. He was always very dedicated to being authentic in his movement,
and fearless in his approach to performing. He was a great dance partner as
well, being very sensitive and aware of other's needs and capabilities in the

dance.

John was always trying to improve himself. He was constantly taking
classes to learn to be a better Hakomi and massage therapist. He
generously offered massages to friends, as he was learning, and sought
always to bring comfort and healing to others.

After John moved from L.A. to Berkeley, to pursue a relationship with a
girlfriend there, | missed having him around. Neither of us were very good at
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keeping in touch, but we still occasionally made trips to Joshua Tree
together, to play on the rocks and commune with nature. When | heard the
news of John's arrest, | was entirely flabbergasted, as he had never made
any comment or action, that suggested that he would be interested in or
capable of doing such an act. It was hard to believe that the charges | heard
about, were about the John Dowell | knew, because nothing in my experience
suggested that outcome.

The acts that John Dowell is accused of are heinous, of course, and | was in
shock, when | heard of them. i don't have the tiniest insight into how he
might have arrived at those actions. But | can say with clarity that the John
Dowell that | knew was kind, generous, very intelligent, giving, caring,
spiritual, and full of the zest for life. | saw within him, absolutely no interest
in hurting others. He was a sensitive soul, who felt deeply, and he was an
awake aware adventurer, who embraced life fully.

| hope that you can take some of this context, and see how multidimensional
John Dowell really is. He is very much capable of goodness, kindness and
charity. He has a lot to offer the world, and has a great deal of inner integrity.
Please consider this testimony, when considering his sentencing.

Thank you very much for your time.

best,

 
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March 3, 2013

To Whom It May Concern
Re: John Dowell

Dear Sirs and Madams,

I write today to share what I know of John Dowell's character. I first met John in August of
2000, when I began attending Contact Improv Dance in Santa Monica, California. At the end of
the first dance I attended, three people were introduced as people that newcomers could speak to
if they had any questions or needed to talk to someone, and John Dowell was one of those three
people. I came to see over the weeks and months that each of these three people, and several
others, were “old-timers” in the community who often volunteered to teach 30-minute beginner
classes to newcomers at the beginning of each 2-1/2 hour dance jam. John consistently showed
up as part of this dance community and helped hold it together by teaching in a gentle and
creative way, by using humor that was silly in nature rather than making fun at anyone's expense,
by including everyone who wanted to be included, and by taking responsibility for unlocking and
locking the dance hall on time when it was his turn. We generally went out to eat together after
dance jams, so a community of friends had formed over the years which welcomed newcomers
with open arms.

In the fall of 2000, John took the step of renting a dance space in order to offer additional classes
to people who wanted more training than the 30-minute warm-up classes. I and a few others
began attending these classes. John's stated purpose for offering these classes was to raise the
level of technical training in the community overall, so that we would all have more fun at the
dance jams. He also shared that he loved to teach. I can report that he was an excellent teacher,
and my skill level improved dramatically over the months | attended class with him. John put a lot
of thought into the content of his classes, and they were both fun and interesting, and often
imparted techniques to the body before the mind by using moving meditation, visualization,
Feldenkrais, and other techniques.

1 learned from the other Contact Improv “old-timers” that John had been a part of this community
for over ten years. And I learned from John that he had been dancing Contact Improv for about
20 years, and teaching and performing for at least ten years, and also had done other physical
training that had prepared him for this, including rock climbing, caving, martial arts, and ballet
dance training for alignment. “Caving” involves climbing down into underground caves in the
dark, teamed up with a friend, using ropes and pitons, relying on each other for balance and
footing, and basically saving each other's lives over and over again; it requires a lot of trust. |
think John also taught rock climbing. I know he taught meditation, because we meditated
together a lot, usually with John leading the meditation. Years before, John had also taught music
(piano, guitar, and sight-reading). John also paints; | saw a painting of one of his girlfriends, and
it was a good likeness, with a lot of feeling. John is quite talented and well-rounded in many
ways.

As I got to know John better, I found out that he had training in Feldenkrais and other bodywork
modalities, and we began to do session trades of healing work because we each needed the work.
I was recovering from a car accident, and John had both older injuries, plus new muscle soreness
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from working construction jobs. John was giving me Feldenkrais sessions, which involves
moving arms and legs around in gentle ways that get the nervous system to release muscle
contractions. I was giving John Cranio-Sacral sessions that essentially accomplished the same
thing with a different technique. John was an excellent session trade partner for me for many
reasons: our level of skill was comparable — we are each excellent at what we do; we are each
incredibly sensitive practitioners and able to modify techniques in the moment as needed for the
client, and we each felt that the sessions traded were a fair exchange. During that time I went
through a relationship breakup, and some of my emotional trauma came up when John was giving
me sessions, and John was great at being a good listener and helping me process my grief. We
often went out to eat before or after our session trades, so those were more hours I was spending
with a friend who seemed to me to be gentle, sweet, and emotionally supportive.

During the time I knew John, he completed training and certification in Hakomi, which is a
meditation-based and body-mind connection-centered method of psychotherapy. At this time I
myself was training in Somatic Trauma Resolution (Somatic Experiencing), so John and I did
session trades as we each honed our new skills. John gave me one of the best Hakomi
psychotherapy sessions of my life, helping me access and clear an emotional trauma related to my
mother from age two. I have had years of psychotherapy, and John was able to help resolve in
one session something that had plagued me for my entire life, and that no other psychotherapist
had been able to get to the root of.

In around 2004 or 2005, John moved to Berkeley to move in with a woman with whom he hoped
to develop a relationship that would lead to marriage, so our friendship was maintained over the
phone. When I went to Berkeley for the West Coast Contact Improv Dance Festival, John and his
girlfriend Kay provided crash pads for me and another visiting dancer. John's relationship with
Kay lasted about four years, and when it ended, John was deeply depressed. He wanted more
than anything to marry and start a family. John lost his nephew to cancer sometime soon after
that, and that was another hard blow. John moved to Santa Cruz to start a new life. We kept in
touch by phone and I knew he had been in a couple more relationships that sounded promising.
and his Hakomi practice was taking off, and he seemed fairly happy. But then he had a very bad
breakup with a girlfriend.

That last breakup was a turning point for John. He had hoped the relationship would lead to
marriage, and was not only shocked and hurt by the way she broke up with him, but was
traumatized by some things she said which were so terribly cruel that John wouldn't repeat them
to me, which was exceptionally inconsistent with the nature of our friendship. Over the years, we
had each supported the other with relationship advice, sharing all of our emotional challenges with
each other, and never before had something happened which John was uncomfortable sharing with
me. John was aware that he was in crisis, and as his friend, I was aware of it too.

When the holidays came around and he visited family, John's brother Bill convinced John to take a
more stable job doing computer consulting, which John did. He got a job that sent him to
Detroit, Michigan, which paid very well, but which was ultimately not a good thing for John's
emotional stability. Moving to Detroit left John completely isolated from friends and family,
working long hours, with no social support system or dance community or other creative outlets.
That might have been okay if he had not just been through the worst breakup of his life, but it was
not okay for John at that time. The few times that we talked on the phone while John was in
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Detroit, he told me how depressed he was, and [ could tell he was spiraling deeper into crisis and
unable to pull himself out of it.

I urged John to make a trip to Los Angeles to visit me and all of his other friends in LA, but he
went to visit family for the holidays that year. My understanding of the timing of events that
landed John in jail is that John molested and videotaped S@QaRRMP while he was still in emotional
crisis following that last bad relationship breakup and the isolation and depression of the months
that followed. Ina letter to me, John described how he felt after that last breakup this way:
“something broke inside me.” John was not at all himself at the time that he molested sags
He was still isolated from anyone he could really talk to, was incredibly lonely and depressed, and
desperately in need of psychotherapy and friendship support, and it was not available. I firmly
believe that if John had gotten the help he needed, this never would have happened.

I realize that this account of events does not excuse what John did, but I hope it helps to explain
it.

And I hope it helps to paint a picture of a person who is incredibly smart, incredibly emotionally
sensitive, a loyal friend, willing to be of service in his community of friends, willing to be of
service to clients suffering physical or emotional distress, willing to teach and share his vast array
of skills and talents, generally more self-aware than most people, willing to examine his own faults
and shortcomings and make genuine efforts to change (had successfully quit smoking and was
attending SLAA 12-step meetings for sex addiction), generally has excellent communication skills
(regularly attended “Non-Violent Communication” workshops), and in my personal and
professional opinion, has a high potential for healing from whatever caused him to act out in the
way that he did.

Sincerely,

Aida Nanrtk

Andrea Sea Namaste

1391 Old Topanga Canyon Rd Apt 4
Topanga, CA 90290-3922
310-455-2475
andreasea@yahoo.com
wwwaAndreaSea.com
